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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WISCONSIN

 DEMOCRATIC NATIONAL COMMITTEE
 and DEMOCRATIC PARTY OF
 WISCONSIN,
                          Plaintiffs,
                                                        Case No. 3:20-cv-249-wmc
        v.
 Marge BOSTELMANN, et al.,
                                        Defendants,
 REPUBLICAN NATIONAL COMMITTEE
 and REPUBLICAN PARTY OF WISCONSIN,
                      Intervenor-Defendants.
 Sylvia GEAR, et al.,
                                          Plaintiffs,
                                                        Case No. 3:20-cv-278-wmc
        v.

 Dean KNUDSON, et al.,
                                        Defendants,
 REPUBLICAN NATIONAL COMMITTEE
 and REPUBLICAN PARTY OF WISCONSIN,
                      Intervenor-Defendants.
 Reverend Greg LEWIS, et al.,
                                          Plaintiffs,
                                                        Case No. 3:20-cv-284-wmc
        v.
 Dean KNUDSON, et al.,
                                        Defendants,
 REPUBLICAN NATIONAL COMMITTEE
 and REPUBLICAN PARTY OF WISCONSIN,
                      Intervenor-Defendants.


                        INTERVENOR-DEFENDANTS’ STATEMENT
                          REGARDING APRIL 1 VIDEO HEARING
       Per this Court’s order (DNC Doc. 144), Intervenors, the Republican National Committee and

Republican Party of Wisconsin, state:

       1.      Patrick Strawbridge will participate in today’s hearing on behalf of Intervenors.




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       2.      Intervenors have reserved the right to call Meagan Wolfe for cross-examination

purposes. Based on her answers to others’ questions, Intervenors hope they can limit (or perhaps

waive altogether) their cross-examination of Ms. Wolfe. Her email address and phone number should

be furnished by Defendants.

       3.      Intervenors do not intend to put any exhibits on the screen during examination or

argument at today’s hearing.

       Dated: April 1, 2020                         Respectfully submitted,

                                                     /s/ Patrick Strawbridge T
       Jeffrey M. Harris                            Patrick Strawbridge
       Cameron T. Norris                            CONSOVOY MCCARTHY PLLC
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